Case 5:22-cv-00405 Document 849-3 Filed 12/08/23 Page 1 of 1 PagelD #: 13012

To:
From: ry
Subject: Southern Regional Jail Settlement ES R AF T

[Claimant ID]

West Virginia agrees to pay $4 million in lawsuit over jail conditions.
Current and former inmates could get money from the settlement.

Visit www. WVjailsettlement.com to file a claim.

You are included in the settlement if you were an inmate at Southern Regional Jail for more than
two days anytime since September 22, 2020.

What does the Settlement Provide?

The state of West Virginia has agreed to create a Settlement Fund of $4,000,000, the highest
amount the state’s insurance coverage will pay. They will also provide up to $50,000 to pay the
cost to provide notice and administer the settlement.

This is a limited fund settlement which means you will not be able to sue the Settling Defendants
on your own for matters covered by the settlement, because there would not be enough funds
available to litigate those claims.

Who are the Settling Defendants?

The Settling Defendants are Jeff S. Sandy, individually and in his official capacity as the former
Cabinet Secretary of the West Virginia Department of Homeland Security, William K. Marshall
III, individually and in his official capacity as the Commissioner of the West Virginia Division
of Corrections and Rehabilitation, Betsy Jividen, Brad Dougias, and Michael Francis. The
lawsuit will continue against the medical providers to the jail, Primecare and Wexford, and the
county commissions that house inmates at the facility which include Greenbrier, Raleigh,
Wyoming, Fayette, Mercer, Monroe, and Summers.

How Can I Get a Payment
You must submit a claim form online or by mail by Month XX, 2024. Claim forms are available

at the website or by calling the toll-free number below.

Your Other Options

You may object to the settlement by Month XX, 2024. The Court will hold a hearing on Month
XX, 2024, to consider whether to approve the settlement. Attorneys representing the Class will
request up to 35% of the Settlement Fund to pay attorneys’ fees plus reasonable expenses and an
incentive award of $1,000 for seven Class Representatives for their efforts in bringing the class
action. You and your own lawyer can appear and speak at the hearing, but you do not have to
attend.

For more information, visit www. W Vjailsettlement.com or call 1-8XX-XXX-XXXX

